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                   United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________
No. 21-3069                                                September Term, 2021
                                                                     1:21-cr-00158-RC-1
                                                      Filed On: December 17, 2021
United States of America,

             Appellee

      v.

Kyle Fitzsimons,

             Appellant

            ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

      BEFORE:        Rogers, Pillard, and Walker, Circuit Judges

                                    JUDGMENT

        This appeal was considered on the record from the United States District Court
for the District of Columbia and on the memoranda of law and fact filed by the parties.
The court has determined that the issues presented occasion no need for an opinion.
See D.C. Cir. Rule 36. It is

        ORDERED AND ADJUDGED that the district court’s September 24, 2021, order
be affirmed. Appellant has not shown that the district court clearly erred in finding that
no condition or combination of conditions of release would reasonably assure the safety
of any other person and the community. See United States v. Munchel, 991 F.3d 1273,
1282 (D.C. Cir. 2021).

        As we explained in Munchel, “those who actually assaulted police officers and
broke through windows, doors, and barricades, and those who aided, conspired with,
planned, or coordinated such actions, are in a different category of dangerousness than
those who cheered on the violence or entered the Capitol after others cleared the way.”
Munchel, 991 F.3d at 1284. During the January 6, 2021 incident, as shown in video
recordings and other evidence submitted by the government, appellant worked his way
to the front of a group of individuals attempting to violently force their way inside the
U.S. Capitol by physically overcoming a defensive line of police officers. The
recordings and other evidence show that, during this confrontation, appellant repeatedly
pushed, punched, and grabbed at officers.
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                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________
No. 21-3069                                                September Term, 2021

       The district court did not clearly err in weighing appellant’s conduct, the weight of
the evidence against him, the nature of the charges, and the evidence of his
increasingly aggressive and threatening behavior towards government officials over the
past several years. Nor did the district court clearly err in finding, based on all of the
evidence, that appellant would pose a danger to the community if released. See 18
U.S.C. § 3142(g).

       The district court found that “no combination of pretrial release conditions could
reasonably guarantee the safety of the community” based on appellant’s “history of
confrontational and threatening conduct in furtherance of his political views and his
actions on January 6 . . . [that] demonstrated a disregard for the safety of others and
the rule of law.” A. 270–71. Appellant has not shown that these conclusions were
clearly erroneous. Given that finding, the district court was not required to make further
specific findings on the record with respect to the likely effectiveness of other potential
release conditions. See United States v. Quaglin, 851 F. App’x 218, 219 (D.C. Cir.
2021) (per curiam).

        Pursuant to D.C. Circuit Rule 36, this disposition will not be published. The Clerk
is directed to withhold issuance of the mandate herein until seven days after the
resolution of any timely petition for rehearing or petition for rehearing en banc. See
Fed. R. App. P. 41(b); D.C. Cir. Rule 41.

                                       Per Curiam


                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Daniel J. Reidy
                                                         Deputy Clerk




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